                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

JOHN MANN ANDERSON,
PATRICK KORKOWSKI,
KENNETH DALBERG,
EDGAR SALINAS-LEAL,
BRAD SCHMITT,
JAYVON R FLEMMING,
JASON NATCONE,
JUSTIN WELCH,
ASHTON DREILING, and
KEVIN L BURKES, On their own behalf
 and on behalf of others similarly situated,

                       Plaintiffs,


       v.                                                    Case No. 23-cv-1430

WISCONSIN DEPARTMENT OF CORRECTIONS,
KEVIN A CARR,
JARED HOY,
MELISSA ROBERTS,
RANDALL HEPP, and
YANA PUSHICH,

                       Defendants.



                       STIPULATION OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs move and stipulate

that this case should be dismissed. Such dismissal shall be without prejudice, with each side to

bear its own costs and fees. Defendants do not object to the dismissal of this action.

       RESPECTFULLY SUBMITTED,

       Dated August 6, 2024,                          Electronically signed by:

                                                             Lonnie D. Story
                                                      Lonnie D. Story, Esquire



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                      Appellants,


       v.                                                    Case No. 23-cv-1430

WISCONSIN DEPARTMENT OF CORRECTIONS,
KEVIN A CARR,
JARED HOY,
MELISSA ROBERTS,
RANDALL HEPP, and
YANA PUSHICH,

                      Appellees.

                                CERTIFICATE OF SERVICE

       I hereby certify that on July 29, 2024, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system. I certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.

                                                      Electronically signed by:


                                                      /s/ Stephen P. New
                                                      Stephen P. New (WVSB No. 7756)




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